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U.S. Dcpartmcnt of Justice

Environment and Natural Resources Division

 

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October 2, 2018

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Ms. Ty Kelly AT 8:30 ___ _:
Rivkin, Weiner, Livingston, LLC W'LUAM T» WALS.l
2002 clipper Park Road, unit los CLEF""
Baltimore, Maryland 21211
tke!ly@lwllaw.com

Re: Plea Agrggm§nt with Andrew Guglielmo

Crfm/r`m/ /uo. /3-10'7’7-0/
DearMs.Kelly,

This letter sets forth the plea agreement between your client, Andrew Guglielmo and the
Environmcntal Crimes Section of the United States Department of Justice (“the govemment”).
times

Conditioned on the understandings specified below, the government will accept a guilty
plea from Andrew Guglielmo to an information charging him with conspiring (l) to deli'aud an
agency of the United States, and (2) to violate the Federal Insecticide, Fungicide, and
Rodenticide Act (“FIFR.A"), Title 18, United States Code, Section 371, and Title 18, United
States Code, Section 2.

lfAndrew Guglielmo enters a guilty plea and is sentenced on this charge and otherwise
fully complies with all of the terms of this agreement, the government will not initiate any
timber criminal charges against him relating to F|exabar’s sale of TBT-containing products and
any false statements made about it. However, in the event that a guilty plea in this matter is not
entered for any reason or thejudgment of conviction entered as a result of this guilty plea does

not remain in hill force and effect, Andrew Guglielmo agrees that any dismissed charges and any

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other charges that are not time-barred by the applicable statute of limitations on the date he signs
this agreement may be commenced against him, notwithstanding the expiration of the limitations
period after he signs the agreement

Sentencing

The violation of Title 18, United Statcs Code, Section 371 to which Andrew Guglielmo
agrees to plead guilty carries a statutory maximum prison sentence of live years, and a statutory
maximum line equal to the greatest ot`: (l) $250,000; (2) twice the gross amount of any
pecuniary gain that any persons derived fi'om the offense; or (3) twice the gross amount of any
pecuniary loss sustained by any victims of the ol’fense. Fines imposed by the sentencing judge
may be subject to the payment of interest.

Andrew Guglielmo and the government have also agreed to the calculation of his offense
level under the U.S. Sentencing Guidelines (“U.S.S.G.”) listed below, which is not binding upon
the Court, and Andrew Guglielmo understands that if the Court does not follow these agreements
and recommendations he will not be allowed to withdraw his guilty plea:

l. The base offense level is 8. U.S.S.G. § 2Ql.2(a).
2. Because the offense involved an ongoing, eontinuous, or repetitive discharge, release, or
emission of a hazardous or toxic substance or pesticide into the environment, the offense

level should be increased by 6 levels. U.S.S.G. § 2Ql .2(b)(l).

3. Because the crime was of a long duration, an upward departure of l level is appropriate

U.S.S.G. §2Ql.2(b)(l), Application Note 5.

4. Because Andrew Guglielmo was a manager or supervisor and the criminal activity was

otherwise extensive, his offense level should be increased §`levels. U.S.S.G. § 3Bl . l(b).

5. The parties agree to seek no additional enhancements or departures under the Sentencing

Guide|ines. Andrew Guglielmo is free to seek a variance pursuant to 18 U.S.C. § 3553.

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6. The parties agree that Andrew Gugliclmo’s guideline calculation results in an offense
level 18 before acceptance ofresponsibility.

7. The government believes that Andrew Guglielmo has accepted responsibility as that term
is defined in U.S.S.G. § 3El .l and is thus entitled to a reduction of two levels provided
Andrew Guglielmo continues to demonstrate compliance with the terms of U.S.S.G. §
3El .l and this agreement up through the time of sentencing. Further, the government
agrees that if Andrew Gug|ielmo offense level prior to the operation of section 3El .l (a)
is level 16 or greater, he would be entitled to an additional one-level reduction pursuant
to U.S.S.G. § 3E1.l(b).

8. The government agrees to recommend a sentence at the low end of the sentencing range
for the offense level calculated.

The sentence to be imposed upon Andrew Guglielmo is within the sole discretion ofthe
sentencing judge, subject to the provisions ofthe Sentencing Reform Act, 18 U.S.C. §§ 355|-
3742, and the sentencingjudge’s consideration of the U.S.S.G. The U.S.S.G. are advisory, not
mandatory. The sentencingjudge may impose any reasonable sentence up to and including the
statutory maximum term of imprisonment and the maximum statutory fine. The government
cannot and does not make any representation or promise as to what guideline range may be
found by the sentencingjudge or as to what sentence Andrew Guglielmo ultimately will receive.

Further, in addition to imposing any other penalty on Andrew Guglie|mo, the sentencing
judge: (l) Will order Andrew Guglielmo to pay an assessment of $100, pursth to 18 U.S.C. §
30 13, which must be paid by the date of sentencing; (2) may order Andrew Guglielmo to pay
restitution, pursth to 18 U.S.C. § 3663 et seq.; and (3) pursuant to 18 U.S.C. § 3583, may
require Andrew Guglielmo to serve a term of supervised release of not more than three years,
which will begin at the expiration of any term of imprisonment imposed. Should Andrew

Guglielmo be placed on a term of supervised release and subsequently violate any of the

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conditions of supervised release before tire expiration of its term, Andrew Guglielmo may be
sentenced to not more than two years of imprisonment in addition to any prison term previously
imposed, regardless of the statutory maximum term of imprisonment set forth above and without
credit for time previously served on post-release supervision, and may be sentenced to an
additional term of supervised release.
Rights of the micth

Andrew Guglielmo understands and acknowledges that he is entering into this agreement
and is pleading guilty tieer and voluntarily because he is guilty. Andrew Guglielmo further
acknowledges that he is entering into this agreement without reliance on any representations or
discussions not contained in this agreement and that there have been no threats, coercion, or
intimidation of any kind. Andrew Guglielrno acknowledges complete satisfaction with the
representation of his counsel and the advice he has received in connection with this agreement.

Through this agreement and his guilty plea, Andrew Guglielmo understands and
acknowledges that he has been informed of, and is giving up, the right: (a) to plead not guilty and
to persist in that plea; (b) to ajury trial; (c) to be represented by counsel-and if necessary have
the Court appoint counsel-at trial and at every other stage of the trial proceedings; (d) to
contiont and cross-examine adverse witnesses; (c) to be protected from compelled self-
incrimination; (i) to testify (or elect not to) and present evidence; and (g) to compel the

attendance of witnesses

Waiver of Aggal and PoL-Sentencing Rigl_rts

Except as noted below in this paragraph, Andrew Guglielmo voluntarily waives the right
to file any appeal, any collateral attack, or any other writer motion, including but not limited to
an appeal under 18 U.S.C. § 3742 or a motion under 28 U.S.C. § 2255, which challenges the

sentence imposed by the sentencing court if that sentence falls within or below the guidelines

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range that results from the agreed total guidelines offense level of 15. The government will not
file any appcal, motion, or writ which challenges the sentence imposed by the sentencing court if
that sentence falls within or above the guidelines range that results from the agreed total
guidelines offense level of l$. The parties reserve any right they may have under 18 U.S.C. §
3742 to appeal the sentencing court’s determination ofthe criminal history category. 'Ihe
provisions of this paragraph are binding on the parties even if the Court employs a guidelines
analysis different ti‘om that stipulated to herein. Furthermore, if the sentencing court accepts a
stipulation, both parties waive the right to file an appeal, collateral attack, writ, or motion
claiming that the sentencing court erred in doing so.

Both parties reserve the right to oppose or move to dismiss any appeal, collateral attack,
writ, or motion barred by the preceding paragraph and to file or to oppose any appeal, collateral
attack, writ or motion not barred by the preceding paragraph. 'I`his waiver shall not be construed
to bar a claim by Andrew Guglielrno of ineffective assistance of counsel or prosecutorial
misconduct

By virtue of his pleading guilty to Count l of the lnforrnation, Andrew Guglielmo
understands that he is not a prevailing party as defined in 18 U.S.C. § 3006A (statutory note
captioned “Attomey Fees and Litigation Expenses to Defense") and hereby expressly waives his
right to sue the United States based on his prosecution in this case.

Rights gf the government Regarding Sentencing

Except as otherwise provided in this agreement, the government reserves its right to take
any position with respect to the appropriate sentence to be imposed on Andrew Guglielmo by the
sentencing judge, to correct any misstatements relating to the sentencing proceedings, and to
provide the sentencingjudge and the United States Probation Office all law and information
relevant to sentencing, favorable or otherwise, subject to the terms of the executed proffer

agreement. In addition, the government may inform the sentencingjudge and the United States

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Probation Ofl`lce ol`: (l) this agreement; and (2) the full nature and extent ofAndrew
Guglielmo's activities and relevant conduct with respect to this case.
lmmiggtion Conseguences

Andrew Guglieimo understands that, if he is not a citizen of the United States, his guilty
plea to the charged offense may result in his being subject to immigration proceedings and
removed from the United States by making him deportable, excludable, or inadmissible, or
ending his naturalization. Andrew Guglieimo understands that the immigration consequences of
this plea will be imposed in a separate proceeding before the immigration authorities Andrew
Guglielmo wants and agrees to plead guilty to the charged offense regardless of any immigration
consequences of this plea, even if this plea will cause his removal from the United States.
Andrew Guglielmo understands that he is bound by his guilty plea regardless of any immigration
consequences of the plea.
Other Provisions

This agreement is limited to Environmental Crimes Section of the United States
Department ofJustice and cannot bind other federal, state, or local authorities. However, the
government will bring this agreement to the attention of other prosecuting ofiices, if requested to
do so.

This agreement was reached without regard to any civil or administrative matters that
may be pending cr commenced in the future against Andrew Guglie|mo. This agreement does
not prohibit the United States, any agency thereof (including U.S. Environmental Protection
Agency and the lntema| Revenue Service), or any third party from initiating or prosecuting any
civil or administrative proceeding against Andrew Guglielmo.

No Other Promises
This agreement constitutes the plea agreement between Andrew Guglielmo and the

government and supersedes any previous agreements between them. No additional promises,

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agreements, or conditions have been made or will be made unless set forth in writing and signed
by the parties.

Very truly yours,

JEFFREY l-l. WOOD

Acting Assistant Attomey General
Environment and Natural Resources Diyision

        
 

F. o rk
ior Trial Attorney

Envir ntal Cri e tion
By:

Adam Cullman

Trial Attomey

Environmental Crimes Section

I have received this letter liom my attomey, Ty Kelly, Esq. I have read it. My attorney

and l have discussed it and all of its provisions, including those addressing the charge,
sentencing, stipulations, waiver, restitution, and immigration consequences. l understand this
letter fully. | hereby accept its terms and conditions and acknowledge that it constitutes the plea
agreement between the parties. l understand that no additional promises, agreements, or

conditions have been made or will be made unless set forth in writing and signed by the parties. l

want to plead guilty pursuant to this plea agreement.

AGREED AND ACCEPTED:

CZh:LM#_ AA?M Date: _JFM__
Andrew Guglielmo

l have discussed with my client this plea agreement and all of its provisions, including

those addressing charge, sentencing, stipulations, waivcr, restitution and immigration

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consequences. My client understands this plea agreement fully and wants to plead guilty

pursuant to it.

`“i'/ikf'M Date: \O|L`{' iia
Ty Kelly, Esq. 0

 

